
PER CURIAM.
By petition for a writ of certiorari we have for review an order of the Florida In*429dustrial Commission bearing date September 26, 1967.
We find that oral argument would serve no useful purpose and it is therefore dispensed with pursuant to Florida Appellate Rule 3.10, subd. e, 32 F.S.A.
Our consideration of the petition, the record and briefs leads us to conclude that there has been no deviation from the essential requirements of law.
The petition is therefore denied.
The motion of petitioner for attorney’s fees in this Court is denied.
It is so ordered.
CALDWELL, C. J., and DREW, THOR-NAL and ERVIN, JJ., concur.
ADAMS, J., dissents.
